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11
                         IN THE UNITED STATES DISTRICT COURT
12
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,              Case No. 3:18-CR-04683-GPC-3
15                                          Hon. Gonzalo P. Curiel
          Plaintiff,
16                                          SENTENCING MEMORANDUM ON
17   v.                                     BEHALF OF MOHAMMED ABDUL
                                            QAYYUM
18   MOHAMMED ABDUL QAYYUM,
19                                          Sentencing Date: October 3, 2022
          Defendant.                        Sentencing Time: 10:30 a.m.
20                                          Location:        Dept. 2D
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 1 I.      INTRODUCTION
 2         After years of litigation by both sides, Mohammed Abdul Qayyum and the
 3 government entered into a plea agreement (Dkt. 484) and agree as to all material aspects of
 4 the recommended sentence. The parties, and Probation Department, agree that this Court
 5 should not impose any custodial sentence and should require Abdul to complete 100 hours
 6 of community service. Per the plea agreement, entered into before the parties had the
 7 benefit of the Probation Department having confirmed Abdul’s negative $165,000 net worth
 8 (PSR ¶ 63) and negative monthly cash flow (PSR ¶¶ 63, 64), the parties also agree that the
 9 Court should impose the statutory maximum $100,000 fine and determine the monthly
10 payment. In light of his verified extreme debts, and to not set him up to violate the Court’s
11 order, Abdul respectfully requests that the Court order any fine payable at a monthly rate
12 of no more than $100 and waive interest under 18 U.S.C. 3612(f)(3)(A). While Abdul has
13 been on supervision without incident for four years and no further supervision is needed,
14 Abdul does not object to a term of supervised release for the Court to retain jurisdiction and
15 regularly revisit Abdul’s ability to pay a higher monthly amount toward any fine.
16 II.     MOHAMMED ABDUL QAYYUM
17         Mohammed Abdul Qayyum is a hardworking and trusting husband, father, and
18 employee whose lack of judgment in this case is a stark aberration to an otherwise positive,
19 rule following life. For the past four years, Abdul has lived under this indictment and the
20 concomitant uncertainty and immeasurable stress about his and his family’s future and
21 ability to remain in the United States. His success on pretrial supervision for four years
22 reaffirms the anomaly of his role in a criminal offense, his ability to move on from this case
23 and resume a productive life, and his respect for the law. Abdul fully accepts responsibility
24 and is eager to put this entire chapter behind him and move forward.
25         A.     Challenging Move to the United States to Pursue a Better Life
26         Abdul was born in Hyderabad, India, as the sixth child and first son to his parents.
27 Abdul’s childhood was pleasant and unremarkable. Though his childhood home lacked
28 running water and he shared a room with all of his siblings, he always had enough food and
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 1 a roof over his head. He grew up speaking Hindi. While it was difficult to get an education
 2 in his hometown, especially for his five sisters, Abdul’s father placed a premium on school.
 3 He saw education as the only path to broaden one’s world and obtain a good living, and he
 4 instilled this appreciation and respect in Abdul. Abdul attended 15 years of primary
 5 education in India, specializing in computer science, a field he thought would open doors
 6 for him and provide a secure livelihood and bright future.
 7         After obtaining his college equivalent degree in computers from a school in India,
 8 Abdul got a job working in technical services at a call center. He wanted to progress in his
 9 career and was told that he could be promoted with a master’s degree from the United States.
10 Abdul had never been outside of his hometown in India and was both excited and nervous
11 at the prospect. After speaking further to colleagues, he learned of an 18-month-long
12 master’s program in information systems management from Coleman College in San Diego
13 (a private university that closed in 2018 due to accreditation and financial problems 1). He
14 began a long application process and applied for a visa. The night before the interview with
15 the consulate, feeling as though he was on the precipice of realizing a dream, he recalls
16 being so nervous that he stayed up most of the night rearranging all his piles of papers. In
17 the morning, he was so excited and on edge that even after all his careful and diligent
18 preparation, he forgot a critical document in his hotel room.
19         Nonetheless, his visa was approved and after a
20 whirlwind of leaving his job, packing up his sparse
21 belongings, saying goodbye to Shalu, his girlfriend (now
22 wife and mother to their one-year-old son), and parents and
23 siblings, Abdul found himself at San Diego International
24 Airport. He was 28 years old, and thousands of miles away from anyone and anything he
25 knew, speaking broken English, struggling to understand English, and very much a
26
27   1
     See San Diego Union Tribune, San Diego’s Coleman University closing after 55 years
28 (Jul. 30, 2018), available at https://www.sandiegouniontribune.com/news/education/sd-
   me-coleman-closing-20180730-story.html (last accessed Sept. 24, 2022).
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 1 foreigner in a strange land. Though he feels foolish and sheltered admitting it now, at the
 2 time, Abdul’s only image of the United States was the Hollywood version of New York
 3 City, and upon landing in San Diego, he was shocked, confused, and wondering if he’d
 4 made a huge mistake leaving his entire world behind.
 5         Abdul was picked up by a chaperone of his master’s program and taken to the student
 6 housing. He quickly learned that San Diego was decidedly not the hustle and bustle and
 7 packed, overflowing community of New York City. He was lonely and isolated, without a
 8 car, knowing no one, and struggling to assimilate. His limited and formal English made it
 9 difficult to authentically communicate and explain himself and his nuanced personality, the
10 time zone change and his lack of financial assets made it hard to stay connected to his family
11 at home, and it was a very difficult transition.
12         B.     Eventually Finding Community at His Job
13         Though his master’s program was intense, Abdul was used to working long hours at
14 a fulltime job. He longed to fill his days and distract himself from the loneliness and despair
15 that threatened to creep in. He also needed money to offset the daily debt he was accruing,
16 having had to take out personal loans, with extortionary interest rates, to pay his tuition,
17 room and board, and daily expenses, as he was not eligible for government regulated student
18 loans on his immigrant visa. Abdul began applying for jobs. Given his education and
19 experience, he was certain he’d be employed in no time. But Abdul’s confidence was
20 misplaced, and his self-esteem continued to crumble as the weeks stretched on and he
21 continued to hear nothing in response to the dozens of applications he submitted.
22         Eventually, in response to an ad he saw on Craigslist, Abdul was invited to interview
23 and ultimately hired on as systems technology intern for Frontline Direct (later Adconion
24 Direct, later Amobee, see PSR ¶ 60), a role that aligned exactly with his graduate studies.
25 He was excited to utilize what he was studying and learn the real-world application of his
26 field. At the time, it was a small, closeknit company, with around 20 total employees.
27 Coming off a hard and lonely transition to the U.S., Abdul was extremely grateful for the
28
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 1 opportunity to work and felt honored to have been chosen to join the team, which soon came
 2 to feel like a family and provided him with a much-needed community.
 3         C.     Stable and Fulfilling Career
 4         As an intern, Abdul worked closely with Kim Reed Perell, the company’s
 5 charismatic, impressive, accomplished CEO, 2 who became a mentor and friend. Abdul
 6 found Kim to be honest, ethical, smart, and passionate. He still recalls that at the end of his
 7 internship, he invited Kim to his master’s program graduation. Kim knew that Abdul had
 8 come to enjoy his time in San Diego and would have liked to stay but that his visa would
 9 soon end and that he was eager to return to Shalu who was still in India. So, Kim created a
10 permanent, full-time position for Abdul at the company and offered to sponsor not only his
11 work visa but also papers for Shalu to join him in San Diego. Abdul gladly accepted this
12 great opportunity. While life in San Diego was very expensive, Abdul’s yearly salary of
13 $75,000 helped him to afford housing and daily expenses for him and Shalu and send money
14 home to his family in India.
15         For the next 14 years, Abdul worked for Kim as the company grew exponentially
16 through various acquisitions and mergers. This was the only job Abdul ever had in the
17 United States and the only work family he’d ever known. He enjoyed and trusted his
18 coworkers, and remained constantly impressed by Kim’s leadership, energy, and success.
19 As he had done his whole life, he deferred entirely to his coworkers as to issues and topics
20 that he understood to be in their fields, stayed in his lane, did not question them, and was
21 honored by their trust in him and his expertise when they asked him to handle more
22 technical tasks of the business.
23
     2
       See, e.g., https://money.cnn.com/2016/08/19/news/economy/kim-perell-amobee/index.html
24
     (“[Kim] remembers going door to door collecting cans and redeeming them at five cents a
25   piece for spending money. When she wanted to learn horseback riding she cleaned the
     stables. When she wanted a car at 16, she flipped pizzas and sold suits to buy one. . .
26
     Eventually she started two of her own companies. Now, at age 39, she is president of a
27   multi-million dollar digital marketing firm in San Diego called Amobee.”);
     https://en.wikipedia.org/wiki/Kim_Perell (listing more than 15 significant awards), (last
28
     accessed Sept. 24, 2022).
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 1         Abdul had strong working relationships with his coworkers and superiors, and was
 2 friendly and considered them to be close, but rarely socialized with them outside of work.
 3 When asked why he did not have a more robust relationship with his coworkers outside of
 4 the office, and if such a relationship might have enabled candid conversations about each
 5 person’s view of what was happening at work such that the offense may have been avoided,
 6 Abdul explains that he and Shalu keep to themselves, do not socialize much, and lead a very
 7 quiet home life, similar to how they were raised in India, where family was the only
 8 relationship. Over the years, Abdul and Shalu have been working on growing their
 9 community and have redoubled efforts since welcoming their son last year so he can grow
10 up with many loving adults around despite being far from family in India.
11         In 2011, Abdul became the “Technical Operations Manager.” The promotion was in
12 title only as Abdul’s responsibilities and role did not change, he did not manage anyone,
13 and he continued to receive a $75,000 yearly salary. Still, Abdul was very proud of the title
14 and recognition of his contributions to the company. He was also proud of the work the
15 company was doing, handling email marketing for established, well-known companies such
16 as Disney, Groupon, Olive Garden, Subway, GIECO, Match.com, Fidelity, and USAA. He
17 fondly recalls taking Shalu on a date using one email marketing campaign the company ran
18 for Olive Garden with a “buy one get one free” special. With his new title, Abdul continued
19 to earn a $75,000 yearly salary for 2012, earned slightly more income for 2013 ($82,500
20 yearly salary), and still slightly more for 2014 ($89,100 yearly salary). To be clear, Abdul
21 was proud to be a valued member of the team, be able to work in his chosen field, and to
22 earn a respectable income. But he did not achieve considerable wealth at this job, especially
23 as compared to the millions of dollars Kim and other executives amassed. See, e.g.,
24 https://kimperell.com/about/, last accessed Sept. 24, 2022 (Kim “bec[ame] a multi-
25 millionaire by the time she was 30, and s[old] her last company Amobee, [sic] for $235
26 million”); Angel Investor Kim Perell Flipping Miami Beach Manse with Rare Floating
27 Helipad, available at https://www.dirt.com/gallery/moguls/power-players/kim-perell-
28 house-miami-beach-helipad-1203427405/, last accessed Sept. 23, 2022 (describing Kim’s
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 1 $26.9 million Miami Beach property home and 2021 sales of “at least two oceanfront
 2 properties in the San Diego [], a 2,700-square foot home in Solana Beach that went for $6.1
 3 million and a nearly 6,300-square-foot residence on a high ocean-front bluff in Carlsbad
 4 that traded at exactly $10 million . . .”). In stark contrast, during the years of the offense
 5 conduct, from 2011 to 2014, Abdul’s total gross income for four years was under
 6 $325,000, and he lived in a small rental apartment in Oceanside. During those years, and
 7 since then, Abdul’s debts and daily expenses have continued to outpace his income. He
 8 still does not own property, and currently resides in a slightly larger rental in Oceanside.
 9 See PSR ¶ 64 (verifying Abdul’s “negative net worth and negative monthly cash flow” and
10 noting that “it appears [Abdul] is unable to pay a fine”).
11         D.     The Offense
12         Abdul fully accepts responsibility for his actions. After four years of litigation, days
13 of trial, and pleas, the Court is familiar with the background, players, and offense. In short,
14 and as relevant here, between 2011 and 2014, Daniel Dye, who pled guilty in 18-CR-00822-
15 GPC and is awaiting sentencing, sold the netblocks at issue to the company, at which point
16 Abdul was tasked with, and did, configure email accounts to allow his employer to use the
17 netblocks in the names of individuals listed on the American Registry of Internet Number’s
18 directory, which were then used and controlled by his coworkers, and coordinated his
19 employer’s connectivity and use of these IP addresses intending for them to be used for the
20 employer’s clients’ email marketing campaigns, though the employer was not the registrant
21 or legitimate successor in interest of these netblocks. See Dkt. 464 at 4-5, ¶¶ 2, 5.
22         Abdul has no justification for his actions, and never intended to risk the life he’s
23 created in the United States for his wife and young son through years of blood, sweat, and
24 tears over 11 netblocks, for which he received no monetary compensation or profit. He is
25 dismayed that despite years of hard work building a career and good name, the headline of
26 his tenure and his enduring reputation and record have been reduced to a mere 11 netblocks,
27 a tiny fraction of the work he performed throughout his 14-year career with the company.
28 Abdul appreciates that the things that comforted him between 2011 and 2014—his blind
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 1 faith and trust in his coworkers, in Kim (the person Abdul revered who initiated and blessed
 2 the relationship with Daniel Dye) and in the company and its stellar reputation and
 3 impressive client roster—do not justify or absolve him of his involvement in criminal
 4 conduct. From the first interrogation by the FBI in 2016, through the indictment in 2018,
 5 through his upcoming sentencing in 2022, Abdul has had to live with his staggering
 6 disappointment and shame, and crippling fear and uncertainty, for his involvement in this.
 7 Those who know him know both how deeply he regrets his lack of judgment here and that
 8 he can and will improve for himself, his family, and his son and provide a positive life free
 9 of criminal justice involvement forevermore. See Exhibit A,
10 Letter from Brian Baumgart.
11         Abdul wants to make things right. He pled guilty and
12 accepted responsibility for his actions. That there was litigation
13 over the legal and technical aspects of this prosecution of first
14 impression should not detract from Abdul’s acceptance of
15 responsibility, and indeed, he has agreed to waive his right to
16 appeal all of the issues he would otherwise appeal in this
17 prosecution of first impression. As any alleged victim was able
18 to “recoup any prior loss”—in fact, some of the netblock registrants, once alerted by the
19 FBI about its investigation, either donated their legacy IP addresses or sold them for
20 significant profit—there has never been any “loss” by any alleged victim to rectify; indeed,
21 in many instances, the alleged victims experienced notable gain. See PSR ¶ 20. Though
22 restitution is thus unavailable, Abdul is nonetheless willing to spend 100 hours away from
23 his wife, young son, and new job to give back to and make amends with the San Diego
24 community that has given so much to him. He hopes to complete these hours through
25 volunteer work with Feeding San Diego, an organization he has always admired.
26         As Abdul’s actions since 2014 have shown, he can and will move on from this to
27 again lead a positive, contributing life. While being laid off by Amobee in July 2022 and
28 the following soul-crushing, finance-straining job search brought back all the familiar
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 1 feelings of insecurity and inadequacy that he felt when he first came to this country, like he
 2 did then, Abdul preserved and obtained new employment and a fresh start. He will never
 3 again find himself involved in the criminal justice system.
 4 III.    SENTENCING RECOMMENDATION
 5         As this Court knows, it has considerable discretion in choosing an appropriate
 6 sentencing for Abdul. “It has been uniform and constant in the federal judicial tradition for
 7 the sentencing judge to consider every convicted person as an individual and every case as
 8 a unique study in the human failings that sometimes mitigate, sometimes magnify, the crime
 9 and the punishment to ensue.” Gall v. United States, 552 U.S. 38, 52 (2007) (quoting Koon
10 v. United States, 518 U.S. 81, 113 (1996)).
11         A.     The Parties Agree that a Time Served Sentence is Appropriate
12         The parties agree that Abdul should receive a time served sentence and imposition of
13 community service from this Court. Further supervision beyond the past four years that
14 Abdul has been on pretrial supervision is unnecessary to achieve deterrence, public
15 protection, or offender rehabilitation. See, e.g., United States v. Sales, 476 F.3d 732, 735
16 (9th Cir. 2007). However, if the Court desires, Abdul has no objection to a term of
17 supervised release for the Court to retain jurisdiction and regularly revisit Abdul’s ability
18 to pay a higher monthly amount toward any fine.
19         B.     The Monthly Fine Amount Should Be No More Than $100
20         Per the plea agreement entered before the parties had the benefit of Abdul’s verified
21 negative $165,000 net worth (PSR ¶¶ 63, 64)) and negative monthly cash flow (id.), the
22 parties also agree that the Court should impose the statutory maximum fine of $100,000.
23 This should be imposed at a monthly rate of no more than $100, commensurate with Abdul’s
24 liabilities. Further, under 18 U.S.C. § 3612(f)(3)(A), this Court should waive interest. A
25 higher monthly amount or permitting interest to accrue would effectively impose a more
26 severe sentence than is just or necessary and set Abdul up to violate the Court’s order.
27         Abdul has an overwhelming amount of debt, more than $165,000, see PSR ¶ 63,
28 initially accrued during his graduate studies and exacerbated by interest and the cost of life
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 1 outpacing his modest salary. Because he funded his graduate studies and early life in the
 2 U.S. with personal loans, there is no loan forgiveness program available to him. Still, he
 3 has worked hard to consolidate debt and adhere to payment plans, and he makes monthly
 4 payments, albeit small, toward the various balances each month to do what he can to reduce
 5 these liabilities. But recently, his financial picture got worse. With the birth of his son last
 6 year, his wife left the workforce. She now lacks work authorization to legally seek
 7 employment, and in any event, is unlikely to earn more income than the cost of daycare.
 8 Abdul acutely feels the pressure of being the sole provider for his family and the
 9 simultaneous responsibility of remaining calm and reassuring exacerbate that pressure.
10 Being laid off from his job this summer and unemployed for six weeks while he looked for
11 a new one forced Abdul to shift expenses to credit and also exacerbated his financial
12 situation.    While he owns a motorcycle free and clear whose Blue Blook value is
13 approximately $13,000, Abdul has been trying to sell it for months and has not received
14 any viable offer. Even the dealership told him they wouldn’t pay more than a few thousand
15 dollars at most for it. If and when it comes to that, Abdul is willing to accept a low offer to
16 get money in his pocket, but he is hoping to find a buyer willing to pay what he thinks the
17 bike is worth.
18         In the PSR, Probation recognized that, based on Abdul’s “negative net worth and
19 negative monthly cash flow, it appears that [Abdul] is unable to pay a fine.” PSR ¶ 64.
20 While this is true, per the plea agreement, Abdul agreed to join in the government’s request
21 of the Court that he pay $100,000, the statutory maximum. Despite his inability to pay a
22 fine, Probation suggested that Abdul utilize “some assets” and “look at other ways in which
23 his household could increase its income (e.g. increase his income and/or the number of
24 wage-earners in the household) or reduce its expenses.” PSR ¶ 64. To be very clear, Abdul
25 is not complaining about and is proud of his lot in life, but he explains the below so the
26 Court has context for why Probation’s suggestions and recommended $500 per month fine
27 payment are impossible.
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 1         Regarding selling his assets, Abdul is attempting to sell his motorcycle and has
 2 looked into selling his cars and getting different vehicles. However, Abdul does not have
 3 much equity in the cars, and given the current market, if he sold them and paid off the
 4 principal and interest on each loan, he would not be able to afford repurchasing vehicles
 5 and would then have a higher added expense of transportation costs via rentals, car shares,
 6 etc. As he no longer has the employer-sponsored life insurance policy (see Dkt. 500 at 1),
 7 or any other asset (PSR ¶ 63), Abdul has no other assets to utilize for a fine. Regarding the
 8 suggestion that Abdul “increase his income” (PSR ¶ 64), though he very much desires to
 9 do so, he has been unable. After being laid off from Amobee, and saddled with this criminal
10 conviction, Abdul applied to approximately 200 jobs before finally getting his current
11 position, at the identical salary he was earning at Amobee. Abdul is uniquely well
12 positioned to say that he has tried and failed to “increase his income.” Id. Finally, regarding
13 the suggestion that he increase “the number of wage-earners in the household” (id.),
14 currently there is no legal way to do this. Abdul’s wife does not have work authorization.
15 While they have applied to adjust their statuses, the applications are still pending and likely
16 to be slowed down if not denied due to Abdul’s conviction in this criminal case.
17         Thus, Abdul respectfully requests that the Court fashion the imposition of the fine
18 and monthly payments considering Abdul’s verified negative net worth and negative
19 monthly cash flow. While no more than $100 per month may not seem like much, it
20 represents an extreme amount to Abdul and his family, who live paycheck to paycheck and
21 do not see their way out of crushing debt. A monthly payment of any amount will require
22 Abdul to literally reassign monthly income away from his young son and to stop paying
23 and trying to get on top of his other crushing debt for decades to come. But he understands
24 this is a consequence of his involvement in this offense, and will figure out how to support
25 his family, as he always has. Given the realities of his finances, Abdul asks the Court to
26 impose no more than $100 per month and waive interest under 18 U.S.C. § 3612(f)(3)(A).
27 Anything else merely sets Abdul up to fail. As discussed, Abdul has no objection if the
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 1 Court imposes a term of supervised release to continue to monitor Abdul’s ability to
 2 increase his monthly payments.
 3         C.    The Guidelines Support a Time Served Sentence
 4         The parties agree as to the Guidelines calculations:
 5         Base Offense Level [18 U.S.C. § 1037(a)(5); U.S.S.G § 2B1.1(a)(2)]          6
 6         Specific Offense Characteristics [$9,700 “loss;” § 2B1.1(b)(1)(B)]          +2
 7         Acceptance of Responsibility [U.S.S.G. § 3E1.1(a)]                          -2
 8         Total Offense Level                                                         6
 9         Criminal History Category                                                   I
10         Guideline Range                                                      0-6 months
11         The parties also agree that the Court should impose the low-end, time served (per
12 Dkt. 496, PSR, at 2 “release status,” credit for one day in custody when fingerprinted,
13 released, and placed on pretrial supervision the same day) .
14         D.    The § 3553(a) Factors Supported a Time Served Sentence
15         The requested sentence is appropriate given Abdul’s overwhelmingly positive history
16 and characteristics and the indisputably unaggravated nature and circumstances of this
17 offense. Time served, supervised release if the Court deems it necessary, 100 community
18 service hours, and imposition of a fine at a monthly rate of no more than $100, accounting
19 for Abdul’s negative net worth and negative monthly cash flow, would also promote respect
20 for the law and provide just punishment. Promoting respect for the law means meting out
21 a commensurate punishment. As the Supreme Court has recognized, an overly harsh
22 sentence “may work to promote not respect, but derision, of the law if the law is viewed as
23 merely a means to dispense harsh punishment without taking into account the real conduct
24 and circumstances involved in sentencing.” Gall, 552 U.S. at 54 (citations omitted).
25 Abdul’s case epitomizes a situation where imposing an overly harsh sentence would run
26 counter to the goals of promoting respect for the law. Abdul, who spent most of his life
27 romanticizing the United States and its opportunities and equities, has been marred in the
28 legal system for years and has already pled guilty for his lapse in judgment. He is now
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 1 branded as a convicted criminal, and his future, and that of his family’s, in this country is
 2 in jeopardy. The instant offense is an isolated, regrettable lack of judgment in an otherwise
 3 law-abiding, rule-following existence.
 4         Regarding deterrence, there are two types of deterrence for the Court to consider—
 5 general deterrence, i.e., deterrence of others, and specific deterrence, i.e., deterrence of
 6 Abdul. As to general deterrence, studies have found that it is the fact of a sentence, not the
 7 severity of it, that has a deterrent impact.3 As to specific deterrence, a custodial sentence
 8 or a fine payment greater than $100 per month would be counterproductive. Abdul should
 9 be encouraged to work, provide for his family, continue getting on top of his debts, and give
10 back to and make amends with the community through community service. The reality is
11 that Abdul’s conviction in this case, four years of supervision, eight years of uncertainty
12 from the time of the FBI’s interrogation to now, and the collateral consequences this
13 conviction may have on his and his family’s ability to remain in and adjust to becoming
14 citizens of this country are themselves very significant and real consequences. See, e.g.,
15 Exhibit B, Letter from Shalu (“It has been more than five years and we have struggled
16 through tensions and uncertainty while the immigration process is still in process for both
17 me and Abdul.”). Abdul will never reoffend.
18 IV.     CONCLUSION
19         Abdul is immensely remorseful for his conduct and involvement in this offense. For
20 all of the reasons stated above, Abdul respectfully requests a sentence of time served; a term
21 of supervised release if desired by the Court wherein the Court continues to monitor his ability
22 to pay a higher monthly payment toward any fine; 100 hours of community service; and, per
23 the plea agreement, the statutory maximum $100,000 fine, with interest waived under 18
24
     3
25    See, e.g., Gary Kleck, et al., The Missing Link in General Deterrence Theory, 43
   Criminology 623, 653 (2005), summarized at https://www.ojp.gov/ncjrs/virtual-
26
   library/abstracts/missing-link-general-deterrence-research; Andrew Von Hirsch, et al.,
27 Criminal Deterrence and Sentence Severity: An Analysis of Recent Research (1999),
   summarized at https://www.ojp.gov/ncjrs/virtual-library/abstracts/criminal-deterrence-and-
28
   sentence-severity-analysis-recent-research.
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 1 U.S.C. § 3612(f)(3)(A), payable at a monthly rate of no more than $100 commensurate with
 2 his verified negative net worth and negative monthly cash flow (see PSR ¶ 64).
 3
                                              Respectfully submitted,
 4
     Dated: September 26, 2022                BIENERT KATZMAN
 5
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                                      13                  18-CR-04683-GPC-3
                 MOHAMMED ABDUL QAYYUM’S SENTENCING MEMORANDUM
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 1                             CERTIFICATE OF SERVICE
 2         Counsel for Defendant Mohammed Abdul Qayyum certifies that the foregoing
 3 pleading has been electronically served on the following parties by virtue of their
 4 registration with the CM/ECF system:
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                                  CERTIFICATE OF SERVICE
